                             Case 1:25-cv-01945-JAM        Document 1-1      Filed 04/09/25    Page 1 of 4 PageID #: 11
                                                              Exhibit A to the Complaint
Location: Queens, NY                                                                                  IP Address: 70.19.41.53
Total Works Infringed: 64                                                                             ISP: Verizon Internet Services
 Work           Info Hash                                    UTC                 Site             Published         Registered         Registration
 1              E1522D8D5EE66F96296F06AF7B049398889C01D9           01/30/2025    Vixen            01/24/2025        02/18/2025         PA0002515955
                                                                      16:49:55
 2              971b5709a1f8a2bdad7484fed2db06834f33e61d           02/24/2025    Vixen            02/14/2025        02/18/2025         PA0002515969
                                                                      17:03:26
 3              7161bf92b071350942eb7bf4642af7ff7b56de93           02/14/2025    Blacked          02/07/2025        02/18/2025         PA0002515979
                                                                      13:36:54
 4              834c1d91bfae69d164727419afb38f9f98407fbb           02/05/2025    Vixen            01/31/2025        02/18/2025         PA0002515961
                                                                      18:59:37
 5              A6F189AFF3929996CFF5F25DA60AA451873C0FC4           12/17/2024    Vixen            11/26/2021        01/07/2022         PA0002337919
                                                                      22:51:14
 6              506AA130150EC159EA9A429DFCE609C9E699DF92           12/17/2024    Vixen            05/19/2023        06/09/2023         PA0002415364
                                                                      22:21:05
 7              8A238DAD4C9213B1989EB065D735C3C915510CD4           12/17/2024    Blacked          11/29/2024        12/13/2024         PA0002506313
                                                                      21:36:33
 8              78D7567CE06384C845FE282682084C645085ABB0           11/13/2024    Blacked          09/10/2024        09/17/2024         PA0002490365
                                                                      16:49:59
 9              41a572496b878ffae77c7a757cbae1ed0eb9d57e           10/16/2024    Blacked Raw      08/30/2021        09/30/2021         PA0002319882
                                                                      16:01:54
 10             c334760f02c4596c1f924cf1417842831b303146           10/13/2024    Blacked Raw      04/19/2021        04/27/2021         PA0002288984
                                                                      08:25:03
 11             7ab491242724955fdb94331c57ed7811ccf6092c           10/13/2024    Tushy            03/03/2024        03/12/2024         PA0002459337
                                                                      04:48:00
 12             da41f73c20ef0639fa92f3b337c2b4868d4cc850           10/13/2024    Blacked          03/04/2023        04/07/2023         PA0002405754
                                                                      02:36:04
 13             ac9eaed77104e528e4e2c7bf6891d685ee490454           10/12/2024    Tushy            08/09/2020        08/31/2020         PA0002265642
                                                                      20:28:02
 14             ea26c129667565f8bfe12c1828378bb7eb3dd0b5           10/12/2024    Vixen            06/14/2024        07/16/2024         PA0002480600
                                                                      05:43:57
 15             8e5093f586461157ed2819a62f307e280fb9f631           10/04/2024    Tushy            04/28/2024        05/08/2024         PA0002470009
                                                                      20:15:39
 16             BA1A49725BBA10895B2D1BE70C605CFA2E2680A0           10/03/2024    Vixen            09/20/2024        10/16/2024         PA0002494775
                                                                      17:18:57
                    Case 1:25-cv-01945-JAM        Document 1-1      Filed 04/09/25    Page 2 of 4 PageID #: 12

Work   Info Hash                                    UTC                 Site             Published      Registered   Registration
17     B8A96B8532913AB5844A47E52578684F34C240CC           09/11/2024    Blacked          09/05/2024     09/17/2024   PA0002490366
                                                             15:26:03
18     1662F86D95AD9C3BEC0D66FFBB9B0F5065CDFA6C           08/17/2024    Vixen            08/02/2024     08/15/2024   PA0002484855
                                                             01:57:15
19     8372bf892f2583727f9a37ecec92b7041a0d5fad           08/07/2024    Blacked Raw      05/17/2021     06/03/2021   PA0002299687
                                                             00:24:37
20     5b9846cf7538720e798c6d5dc1f3b7fe8ee80924           08/05/2024    Milfy            05/01/2024     06/20/2024   PA0002477047
                                                             09:20:13
21     AEF9CC52DB9550AF2BED6CD3120D730A09F31CC9           07/30/2024    Vixen            07/19/2024     08/15/2024   PA0002484825
                                                             14:32:33
22     0148cd7d1e2f1d19697008532f652bec827224a7           07/27/2024    Milfy            06/14/2023     08/22/2023   PA0002431060
                                                             05:28:49
23     6f785110de90b8e0664fa73bc3964c4549cc8a13           07/21/2024    Blacked          06/17/2023     07/13/2023   PA0002420351
                                                             21:18:20
24     444f9b2659becf20bb92f6dd3f6b67ff489736d5           07/21/2024    Blacked          11/20/2021     12/09/2021   PA0002325817
                                                             01:24:35
25     d0c4df23914b7756fad48f83574ba4a15d05fc46           07/21/2024    Blacked          12/09/2023     01/15/2024   PA0002449247
                                                             00:44:25
26     4c243503a80ec4b1ab768f5dcbdffe0623a2cc39           07/20/2024    Tushy            02/13/2022     03/29/2022   PA0002342838
                                                             00:25:08
27     275b3cac2464132c88cd31e1b798f6e9d0271387           07/20/2024    Tushy            04/17/2022     04/23/2022   PA0002346417
                                                             00:15:45
28     aadf563f199c6532a25de24ef67834e18666d30e           07/19/2024    Blacked Raw      03/21/2022     03/29/2022   PA0002342707
                                                             00:21:50
29     e40503043794ce355f725f3ec93b424c1f2aec5a           07/17/2024    Slayed           07/18/2023     08/22/2023   PA0002431035
                                                             19:41:43
30     7ddc769027ae67c756eadd976130dae6c412c9e4           07/16/2024    Milfy            05/22/2024     06/20/2024   PA0002477021
                                                             10:06:03
31     ade7f4b7d0aefa3f8e0ff47e4391596621551313           07/16/2024    Blacked          08/19/2021     09/30/2021   PA0002319753
                                                             07:12:08
32     0a125174876a80f5fe34fd0639845ff75cda100b           07/15/2024    Slayed           09/23/2021     11/01/2021   PA0002326412
                                                             08:42:43
33     98ef7b09784062335aa145beea2f452aa055f698           07/15/2024    Blacked          03/19/2022     03/29/2022   PA0002342841
                                                             08:20:04
34     191087adb4e45213632182b6b82f6f3edbd2b80f           07/11/2024    Blacked          01/08/2022     01/17/2022   PA0002330123
                                                             20:59:23
                    Case 1:25-cv-01945-JAM        Document 1-1      Filed 04/09/25    Page 3 of 4 PageID #: 13

Work   Info Hash                                    UTC                 Site             Published      Registered   Registration
35     00A1660D7FA7D6536C17CF39AAFFFEB19CFE7DB2           07/10/2024    Vixen            07/05/2024     07/16/2024   PA0002480633
                                                             18:01:54
36     3ad6c2716cde52715d2ba989c006ad781823b228           06/20/2024    TushyRaw         10/18/2023     11/14/2023   PA0002439663
                                                             21:01:32
37     de7cda0e72300931cccd3fb1cf21cb3347ecce24           06/19/2024    Blacked Raw      04/11/2022     04/23/2022   PA0002346408
                                                             16:18:24
38     27967d46d6577c4fed36a41a9ada051f5d6668ad           06/19/2024    Vixen            04/23/2021     04/27/2021   PA0002288949
                                                             11:14:35
39     406adbacaf92b6a92563df16f1eb6c212f6ff2f9           06/13/2024    Blacked Raw      03/14/2022     03/29/2022   PA0002342865
                                                             02:01:12
40     43ca23ade2e4e6fbf8fbb5bfaf489416be58bbe1           06/08/2024    Tushy            12/20/2020     01/05/2021   PA0002269960
                                                             18:30:01
41     4d4b9d0dfab2937f91476a0f53b8f9cbeb679ff3           05/25/2024    Vixen            05/24/2024     06/18/2024   PA0002476933
                                                             00:04:30
42     e95d3bcaed245fb818939a5e0bb5f46bd8190788           05/07/2024    TushyRaw         10/11/2023     11/14/2023   PA0002439659
                                                             10:09:02
43     6fbacd1a300163a11e107b85a3a81fb25065ab03           04/30/2024    Blacked Raw      11/23/2020     12/09/2020   PA0002274806
                                                             09:13:06
44     9450D03426ED7C54F472FEDEAD82FC75D050B8EE           04/28/2024    Vixen            04/05/2024     04/12/2024   PA0002465444
                                                             15:35:44
45     250cfc39720ddb9cb1aa3602e437cd17c6f8d573           04/28/2024    Tushy            03/12/2023     04/07/2023   PA0002405752
                                                             00:18:03
46     0358aa916fb163803de347d3d08dccecfab9179c           04/19/2024    Milfy            01/17/2024     03/15/2024   PA0002463443
                                                             19:17:43
47     e3d43f8583b998366d59f5d2aac8e70d06e57783           04/18/2024    Vixen            11/06/2020     12/09/2020   PA0002274936
                                                             11:09:04
48     55a6c2460be3d886bd98379c4f83e1eff0f91e9d           04/17/2024    Blacked Raw      05/10/2021     06/15/2021   PA0002296920
                                                             17:31:44
49     40db3801ea590e68c182260238a3d5941b59dd25           04/11/2024    TushyRaw         02/20/2024     03/12/2024   PA0002459338
                                                             20:27:18
50     05b54f806a586af8bdb0b7f9c3b3a4cb567750e3           04/10/2024    Blacked Raw      04/01/2024     04/11/2024   PA0002464924
                                                             10:14:58
51     f2c9a95ef45963d9a9e418146c34f8224237372c           03/24/2024    Blacked          12/02/2023     12/11/2023   PA0002444887
                                                             20:45:00
52     3977b246313acab1b7ce41d41e5340bbafab281d           03/24/2024    Vixen            10/13/2023     11/14/2023   PA0002439697
                                                             06:34:27
                    Case 1:25-cv-01945-JAM        Document 1-1      Filed 04/09/25   Page 4 of 4 PageID #: 14

Work   Info Hash                                    UTC                 Site            Published      Registered   Registration
53     4ff32647d7dc0148291ec2bfd9ede016c8ab72c9           03/23/2024    Blacked         10/17/2020     11/05/2020   PA0002263387
                                                             12:14:29
54     775f2ca14447d23424007e92cceae9378307b48e           03/23/2024    Vixen           10/15/2021     10/19/2021   PA0002317061
                                                             12:14:29
55     26f269f82bf4af38796c34064b2d737e30e457d3           03/23/2024    Blacked         08/07/2021     08/23/2021   PA0002308431
                                                             09:35:18
56     e2eac27979cae885745edf76aa7ce6e0ea5d73e8           03/20/2024    Blacked         01/30/2021     02/26/2021   PA0002283695
                                                             17:14:16
57     B2D673DB4DB2FE02E13948D817F002625C590F3E           03/19/2024    Tushy           03/10/2024     04/12/2024   PA0002465216
                                                             15:23:44
58     bdc478b3399a146077fbe08ef9a6b73e770bced9           03/11/2024    Blacked         06/25/2022     07/22/2022   PA0002359471
                                                             23:45:55
59     D26D7925B0173914739A23AC3932F9E49C8B5555           03/03/2024    Vixen           03/01/2024     03/13/2024   PA0002459594
                                                             18:02:14
60     AFA75C50ECC5097B38CD8FC5E3A50757E48BD975           01/28/2024    Vixen           01/26/2024     02/13/2024   PA0002454776
                                                             15:10:04
61     f0eb5a6c5dac99b7dd5281a3a341a4024e25c0f8           01/10/2024    Vixen           08/04/2023     08/17/2023   PA0002425763
                                                             17:58:58
62     c9e35c214c29132e52ebda39cda37a2993dfd3e3           12/14/2023    Vixen           09/29/2023     10/18/2023   PA0002435610
                                                             14:37:33
63     2dfc524a00d33855ee295c15804ea5d18c92b522           12/14/2023    Vixen           11/17/2023     12/13/2023   PA0002445433
                                                             14:37:30
64     4b3cb4216d3319405f86ecda32e5d1fac44b03c2           12/13/2023    Vixen           12/01/2023     12/13/2023   PA0002445428
                                                             18:17:34
